                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

FEDERAL TRADE COMMISSION                   )
                                           )
      Plaintiff,                           )
                                           ) CASE NO: 1:17-cv-03094-WMR
v.                                         )
                                           )
HORNBEAM SPECIAL                           )
SITUATIONS, LLC, et al.                    )
                                           )
      Defendants.                          /


 EARL ROBINSON’S AND JAMES MCCARTER’S JOINT TRIAL BRIEF

      COME NOW Defendant Earl Robinson and Defendant James McCarter and

submit to the Court their Trial Brief outlining the important legal issues to be

addressed at the trial of this matter.

      Defendants believe there is no direct admissible evidence in the record of

this case or that which will be admitted at trial to trigger individual liability

pursuant to the Federal Trade Commission Act (FTC Act), the Restore Online

Shoppers Confidence Act (ROSCA) and/or the FTC’s Telemarketing Sales Rule.

Plaintiff’s guilt by association theories are not the proper standard to establish Earl

Robinson or James McCarter liable for the conduct of the corporate or other

individuals who have been dismissed by the FTC.


                                          -1-
      1.     Standard to Establish Individual Liability

      An alleged violation of ROSCA is treated as a violation of section 18 of the

FTC Act - 15 U.S.C. §8404(a). Similarly, an alleged violation of the Telemarketing

Sales Rules is treated as a violation of a rule pursuant to section 57a of the FTC

Act - 15 U.S.C. §6102(c)(1). Thus, the standard for individual liability to apply to

Earl Robinson or James McCarter is the same under each claim asserted by

Plaintiff. See FTC v. Partners in Health Care Association, Inc., 189 F.Supp.3d

1356, 1368 (S.D. Fla. 2016). Plaintiff must prove, through the admission of

evidence and testimony, an individual defendant had knowledge of the unlawful

practices and participated directly in the practices or had authority to control the

practices or acts. See FTC v. On Point Capital Partners, LLC, 17 F.4th 1066, 1083

(11th Cir. 2021); FTC v. Gem Merchandising Corporation, 87 F.3d 466, 470 (11th

Cir. 1996); FTC v. Hornbeam Special Situations, LLC, 308 F.Supp.3d 1280, 1288

(N.D. Ga. 2018).

      Mere knowledge of corporate practices without evidence the specific

individual participated directly in the practice or had the authority to control the

corporate practices is not sufficient to create individual liability for any individual

defendant in this matter. See On Point Capital Partners, 17 F.4th at 1083

(individual defendant was Chairman of the Board of Directors, major financial

                                          -2-
investor and had approval rights over many day to day operations; e.g. Jerry

Robinson). Authority to control must be established by evidence of active

involvement in the business affairs and the making of corporate policy related to

the deceptive conduct. See FTC v. IAB Marketing Associates, L.P., 746 F.3d 1228,

1233 (11th Cir. 2014); Hornbeam Special Situations, 308 F.Supp.3d at 1288. The

FTC must then establish through admissible evidence knowledge of the individual

defendant of the deceptive conduct; was recklessly indifferent to its deceptiveness

or had an awareness of a high probability of deceptiveness and intentionally

avoided learning the truth. See FTC v. Primary Group, Inc., 713 Fed.Appx. 805,

807 (11th Cir. 2017); Hornbeam Special Situations, 308 F.Supp.3d at 1288; FTC v.

National Urological Group, 645 F.Supp.2d 1167, 1207 (N.D. Ga. 2008). Under

this standard mere negligence of an individual defendant is not enough for liability

under the FTC Act or ROSCA.

      To date the FTC has simply sought to lump together the individual

defendants to establish some sort of “group think” individual liability. Based on the

legal standards applicable to this case and what will likely be the admissible

evidence before this Court, the FTC cannot carry its burden of proof.




                                         -3-
            This the 1st day of November 2022.

                              HOTCHKISS HOFFECKER PEACOCK, LLC

                                    /S/ Charles Hoffecker
                              Charles Hoffecker
                              Georgia Bar No.: 359615
                              Attorney for Earl Robinson, Defendant
1201 Peachtree Street, NE
Suite 2000
Atlanta, GA 30361
404-885-7576
chad@hhpatlanta.com

                              WEINBERG WHEELER HUDGINS GUNN &
                              DIAL

                                    /S/ William C. Buhay
                              William C. Buhay
                              Georgia Bar No.: 093940
                              Attorney for James McCarter
3344 Peachtree Road
Suite 2400
Atlanta, GA 30326
404-832-9536
wbuhay@wwhgd.com




                                      -4-
                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing pleading was prepared using Times New

Roman, 14-point, and otherwise conforms with the requirements of Local Rule 5.1.

      This the 1st day of November 2022.

                                     HAYLE HOFFECKER PEACOCK, LLC

                                           /S/ Charles Hoffecker
                                     Charles Hoffecker
                                     Georgia Bar No.: 359615
                                     Attorney for Earl Robinson, Defendant
1201 Peachtree Street, NE
Suite 2000
Atlanta, GA 30361
404-885-7576
chad@hhpatlanta.com




                                      -5-
                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, I served the foregoing Entry of Appearance

upon the following by electronically filing the same with the Clerk of the Court

using the CM/ECF system which will automatically send an e-mail notification of

such filing to all attorneys of record.

      This the 1st day of November 2022.

                                          HAYLE HOFFECKER PEACOCK, LLC

                                                /S/ Charles Hoffecker
                                          Charles Hoffecker
                                          Georgia Bar No.: 359615
                                          Attorney for Earl Robinson, Defendant
1201 Peachtree Street, NE
Suite 2000
Atlanta, GA 30361
404-885-7576
chad@hhpatlanta.com
